Case 1:14-cv-02887-JLK-MEH Document 119 Filed 02/16/18 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK
  ______________________________________________________________________________

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALEGRA,
  on their own behalf and on behalf of all others similarly situated,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


              UNOPPOSED MOTION FOR WITHDRAWAL OF APPEARANCE


         Pursuant to D.C.COLO.LAttyR5(b), attorney Elizabeth V. Stork of the law firm of

  Outten & Golden LLP (“O&G”) respectfully moves to withdraw her appearance for Plaintiffs

  Alejandro Menocal, Marcos Brambila, Grisel Xahuentitla, Hugo Hernandez, Lourdes Argueta,

  Jesus Gaytan, Olga Alexaklina, Dagoberto Vizguerra, and Demetrio Valerga (collectively,

  “Plaintiffs”) and states as follows:

         1.      Ms. Stork appeared in this matter on behalf of the Plaintiffs.

         2.      Ms. Stork will no longer be employed by the law firm O&G as of February 17,

                 2018.
Case 1:14-cv-02887-JLK-MEH Document 119 Filed 02/16/18 USDC Colorado Page 2 of 2




         3.      Counsel of record for Plaintiffs remains the same without prejudice.

         4.      As required by D.C.COLO.LAttyR5(b), a copy of this motion is being served

                 upon the Plaintiffs and counsel of record for Plaintiffs and Defendant The

                 Geo Group will be served by the Court’s CM/ECF system.

         WHEREFORE, the undersigned counsel respectfully moves the court for a withdrawal of

  appearance in this matter.

                                               Respectfully submitted,

  Dated: February 16, 2018               By: /s/ Elizabeth V. Stork
                                             Elizabeth V. Stork




                                                  2
